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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-423V
                                      Filed: June 21, 2016
                                          Unpublished

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ALEXANDRIA SKEENS,                        *
                                          *
v.                                        *
                     Petitioner,          *     Ruling on Entitlement; Concession;
                                          *     Influenza Vaccination;
                                          *     Shoulder Injury Related to Vaccine
SECRETARY OF HEALTH                       *     Administration (“SIRVA”);
AND HUMAN SERVICES,                       *     Special Processing Unit (“SPU”)
                                          *
                     Respondent.          *
                                          *
****************************
Maximillian Muller, Muller Brazil LLP, Dresher, PA, for petitioner.
Claudia Gangi, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

       On April 4, 2016, Alexandria Skeens (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act” or “Program”). Petitioner alleges that she
suffered a shoulder injury related to vaccine administration (“SIRVA”) after receiving the
influenza vaccine on October 15, 2014. Petition at 1, ¶ 2. Petitioner further alleges that
she received her vaccination in the United States, that she has suffered the residual
effects of her injury for more than six months, and that no lawsuit has been filed or
settlement accepted by herself or anyone else for her injuries. Id. at ¶¶ 2, 22-23, 25.
The case was assigned to the Special Processing Unit of the Office of Special Masters.



1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended
at 44 U.S.C. § 3501 note (2012)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       On June 16, 2016, respondent filed her Rule 4(c) report in which she concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent “has concluded that petitioner’s alleged injury is
consistent with a shoulder injury related to vaccine administration (“SIRVA”) and
compensation is appropriate in this case.” Id. Respondent further indicates that
“[b]ased on the medical records outlined above, petitioner met the statutory
requirements by suffering the condition for more than six months; . . . there was no
alternative cause to the injury; . . . [and] petitioner has satisfied all legal prerequisites for
compensation under the Act.” Id. at 4 (citations omitted).

       In view of respondent’s concession and the evidence before me, I find that
petitioner is entitled to compensation.

IT IS SO ORDERED.

                                     s/Nora Beth Dorsey
                                     Nora Beth Dorsey
                                     Chief Special Master




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